     Case 1:06-cr-00038-MP-AK           Document 171       Filed 08/10/07      Page 1 of 1


                                                                                       Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:06-cr-00038-MP-AK

AARON MASSIE,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 170, Joint Motion to Continue Sentencing. The

motion is granted and sentencing is hereby reset for August 31, 2007, at 9:30 a.m.


       DONE AND ORDERED this 9th day of August, 2007


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
